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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                             Check if this is an
                                                                        Chapter 13
                                                                                                                             amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Jennifer
     government-issued picture
                                       First Name                                               First Name
     identification (for example,
     your driver's license or          D.
     passport).                        Middle Name                                              Middle Name

                                       Brackeen
     Bring your picture                Last Name                                                Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                               First Name
     years
                                       Middle Name                                              Middle Name
     Include your married or
     maiden names.
                                       Last Name                                                Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   0        9       5    2     xxx – xx –
     number or federal                 OR                                                       OR
     Individual Taxpayer
     Identification number             9xx – xx –                                               9xx – xx –
     (ITIN)

4.   Any business names                       I have not used any business names or EINs.              I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                            Business name
     the last 8 years
                                       Business name                                            Business name
     Include trade names and
     doing business as names
                                       Business name                                            Business name




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Debtor 1     Jennifer D. Brackeen                                                             Case number (if known)

                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                                  –                                                           –
                                     EIN                                                          EIN
                                                  –                                                           –
                                     EIN                                                          EIN
5.   Where you live                                                                               If Debtor 2 lives at a different address:

                                     2021 Avis Circle
                                     Number       Street                                          Number      Street




                                     Mesquite                        TX       75149
                                     City                            State    ZIP Code            City                           State    ZIP Code

                                     Dallas
                                     County                                                       County

                                     If your mailing address is different from                    If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                     court will send any notices to you at this                   will send any notices to you at this mailing
                                     mailing address.                                             address.



                                     Number       Street                                          Number      Street


                                     P.O. Box                                                     P.O. Box


                                     City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing            Check one:                                                   Check one:
     this district to file for
     bankruptcy                              Over the last 180 days before filing this                   Over the last 180 days before filing this
                                             petition, I have lived in this district longer              petition, I have lived in this district longer
                                             than in any other district.                                 than in any other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the             Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                  Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Jennifer D. Brackeen                                                      Case number (if known)

8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                         court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                         pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                         behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                         Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                         than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                         fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                         Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                  No
     bankruptcy within the
     last 8 years?                       Yes.

                                    District                                               When                    Case number
                                                                                                  MM / DD / YYYY
                                    District                                               When                    Case number
                                                                                                  MM / DD / YYYY
                                    District                                               When                    Case number
                                                                                                  MM / DD / YYYY

10. Are any bankruptcy                   No
    cases pending or being
    filed by a spouse who is             Yes.
    not filing this case with
                                    Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an               District                                               When                    Case number,
    affiliate?                                                                                    MM / DD / YYYY   if known


                                    Debtor                                                             Relationship to you

                                    District                                               When                    Case number,
                                                                                                  MM / DD / YYYY   if known

11. Do you rent your                     No.    Go to line 12.
    residence?                           Yes. Has your landlord obtained an eviction judgment against you?

                                                     No. Go to line 12.
                                                     Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                     and file it as part of this bankruptcy petition.




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Jennifer D. Brackeen                                                      Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




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Debtor 1     Jennifer D. Brackeen                                                        Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1     Jennifer D. Brackeen                                                        Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you       16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                   as "incurred by an individual primarily for a personal, family, or household purpose."
                                                  No. Go to line 16b.
                                                  Yes. Go to line 17.

                                    16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.

                                    16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                             No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after             Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                      administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                           No
    are paid that funds will be
                                                      Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                  1-49                             1,000-5,000                           25,001-50,000
    you estimate that you                  50-99                            5,001-10,000                          50,001-100,000
    owe?                                   100-199                          10,001-25,000                         More than 100,000
                                           200-999

19. How much do you                        $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your assets to                $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be worth?                              $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

20. How much do you                        $0-$50,000                       $1,000,001-$10 million                $500,000,001-$1 billion
    estimate your liabilities to           $50,001-$100,000                 $10,000,001-$50 million               $1,000,000,001-$10 billion
    be?                                    $100,001-$500,000                $50,000,001-$100 million              $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million             More than $50 billion

 Part 7:      Sign Below
For you                             I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                    and correct.

                                    If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                    or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                    proceed under Chapter 7.

                                    If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                    fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                    I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                    I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                    connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                    or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                    X /s/ Jennifer D. Brackeen                                  X
                                       Jennifer D. Brackeen, Debtor 1                               Signature of Debtor 2

                                       Executed on 04/27/2018                                       Executed on
                                                   MM / DD / YYYY                                                 MM / DD / YYYY


Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                            page 6
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Debtor 1     Jennifer D. Brackeen                                                       Case number (if known)

For your attorney, if you are       I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                  eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                    relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by       the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need        certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                  is incorrect.



                                    X /s/ Richard Weaver                                                  Date 04/27/2018
                                       Signature of Attorney for Debtor                                        MM / DD / YYYY


                                       Richard Weaver
                                       Printed name
                                       Richard M. Weaver & Associates
                                       Firm Name
                                       5601 Airport Freeway
                                       Number          Street




                                       Fort Worth                                                 TX              76117
                                       City                                                       State           ZIP Code


                                       Contact phone (817) 222-1108                     Email address


                                       21010820
                                       Bar number                                                 State




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
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  Fill in this information to identify your case and this filing:
  Debtor 1               Jennifer                    D.                  Brackeen
                         First Name                  Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
1616 Oxford Place                                          Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                        Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building             Current value of the       Current value of the
                                                               Condominium or cooperative                entire property?           portion you own?
Mesquite                         TX       75149                Manufactured or mobile home                         $185,030.00                $185,030.00
City                             State    ZIP Code             Land
                                                               Investment property                       Describe the nature of your ownership
                                                               Timeshare                                 interest (such as fee simple, tenancy by the
Dallas                                                                                                   entireties, or a life estate), if known.
                                                               Other
County
                                                           Who has an interest in the property?
                                                                                                         Homestead
Castleridge Rev
                                                           Check one.
Claim $101,897.00
                                                               Debtor 1 only                                Check if this is community property
Awarded to former spouse through
                                                               Debtor 2 only                                (see instructions)
divorce
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:  BLK A, Lot 34




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 1
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Debtor 1         Jennifer D. Brackeen                                                                  Case number (if known)


1.2.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
3745 Nabholtz Lane                                       Check all that apply.                               amount of any secured claims on Schedule D:
Street address, if available, or other description            Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?
Mesquite                         TX       75150               Manufactured or mobile home                                  $89,540.00                 $89,540.00
City                             State    ZIP Code            Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
Dallas                                                                                                       entireties, or a life estate), if known.
                                                              Other
County
                                                         Who has an interest in the property?
                                                                                                             Rental Property
3745 Nabholtz Lane                                       Check one.
Country Club Estates 1
                                                              Debtor 1 only                                       Check if this is community property
Claim $28,446.00
                                                              Debtor 2 only                                       (see instructions)
Awarder to former spouse through
divorce                                                       Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:  BLK 5, Lot 30

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................           $274,570.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                        Jeep                        Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                       Liberty
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                        2006
                                                              Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                          At least one of the debtors and another             $2,100.00                             $2,100.00
Other information:
2006 Jeep Liberty                                             Check if this is community property
                                                              (see instructions)
4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.     Add the dollar value of the portion you own for all of your entries from Part 2, including any
       entries for pages you have attached for Part 2. Write that number here.............................................................              $2,100.00


  Part 3:          Describe Your Personal and Household Items
                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
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Debtor 1         Jennifer D. Brackeen                                                                                Case number (if known)

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe............

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Wearing Apparel & Shoes                                                                                                                       $160.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................         $160.00


  Part 4:          Describe Your Financial Assets
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 3
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Debtor 1         Jennifer D. Brackeen                                                                                                  Case number (if known)

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                    Institution name:

            17.1.        Other financial account: Prepaid Amex Card                                                                                                                                              $129.00
            17.2.        Other financial account: Prepaid CSL Plasma Visa                                                                                                                                        $111.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                               % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.                Type of account:                     Institution name:
                                              401(k) or similar plan: 401(k)                                                                                                                                     $918.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                                 Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)




Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                    page 4
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Debtor 1        Jennifer D. Brackeen                                                         Case number (if known)

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                             Federal:
           about them, including whether
           you already filed the returns                                                                              State:
           and the tax years.....................................
                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                          Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information




Official Form 106A/B                                                Schedule A/B: Property                                                       page 5
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Debtor 1         Jennifer D. Brackeen                                                                                Case number (if known)

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $1,158.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Jennifer D. Brackeen                                                                               Case number (if known)

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Jennifer D. Brackeen                                                                                       Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $274,570.00

56. Part 2: Total vehicles, line 5                                                                                    $2,100.00

57. Part 3: Total personal and household items, line 15                                                                  $160.00

58. Part 4: Total financial assets, line 36                                                                           $1,158.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................               $3,418.00             property total                 +            $3,418.00


63. Total of all property on Schedule A/B.                                                                                                                                                  $277,988.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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 Fill in this information to identify your case:
 Debtor 1            Jennifer             D.                     Brackeen
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                          $2,100.00                  $2,100.00          11 U.S.C. § 522(d)(2)
2006 Jeep Liberty                                                                 100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:      3.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                           $160.00                    $160.00           11 U.S.C. § 522(d)(3)
Wearing Apparel & Shoes                                                           100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:       11
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                           $129.00                    $129.00           11 U.S.C. § 522(d)(5)
Prepaid Amex Card                                                                 100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:      17.1
                                                                                  applicable statutory
                                                                                  limit


3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Jennifer D. Brackeen                                                   Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $111.00                  $111.00           11 U.S.C. § 522(d)(5)
Prepaid CSL Plasma Visa                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.2
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $918.00                  $918.00           11 U.S.C. § 522(d)(12)
401(k)                                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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                                                 UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF TEXAS
                                                       FORT WORTH DIVISION
  IN RE: Jennifer D. Brackeen                                                             CASE NO

                                                                                          CHAPTER       7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                 Scheme Selected: Federal
                                                                Gross             Total         Total         Total Amount   Total Amount
No.     Category                                        Property Value    Encumbrances         Equity               Exempt    Non-Exempt


1.      Real property                                          $0.00             $0.00         $0.00                $0.00          $0.00

3.      Motor vehicles (cars, etc.)                        $2,100.00             $0.00     $2,100.00            $2,100.00          $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00             $0.00         $0.00                $0.00          $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                        $0.00             $0.00         $0.00                $0.00          $0.00

7.      Electronics                                            $0.00             $0.00         $0.00                $0.00          $0.00

8.      Collectibles of value                                  $0.00             $0.00         $0.00                $0.00          $0.00

9.      Equipment for sports and hobbies                       $0.00             $0.00         $0.00                $0.00          $0.00

10.     Firearms                                               $0.00             $0.00         $0.00                $0.00          $0.00

11.     Clothes                                              $160.00             $0.00       $160.00              $160.00          $0.00

12.     Jewelry                                                $0.00             $0.00         $0.00                $0.00          $0.00

13.     Non-farm animals                                       $0.00             $0.00         $0.00                $0.00          $0.00

14.     Unlisted pers. and household items-                    $0.00             $0.00         $0.00                $0.00          $0.00
        incl. health aids

16.     Cash                                                   $0.00             $0.00         $0.00                $0.00          $0.00

17.     Deposits of money                                    $240.00             $0.00       $240.00              $240.00          $0.00

18.     Bonds, mutual funds or publicly                        $0.00             $0.00         $0.00                $0.00          $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00             $0.00         $0.00                $0.00          $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00             $0.00         $0.00                $0.00          $0.00
        instruments

21.     Retirement or pension accounts                       $918.00             $0.00       $918.00              $918.00          $0.00

22.     Security deposits and prepayments                      $0.00             $0.00         $0.00                $0.00          $0.00

23.     Annuities                                              $0.00             $0.00         $0.00                $0.00          $0.00

24.     Interests in an education IRA                          $0.00             $0.00         $0.00                $0.00          $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00             $0.00         $0.00                $0.00          $0.00

26.     Patents, copyrights, and other                         $0.00             $0.00         $0.00                $0.00          $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00             $0.00         $0.00                $0.00          $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00             $0.00         $0.00                $0.00          $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                   FORT WORTH DIVISION
  IN RE: Jennifer D. Brackeen                                                             CASE NO

                                                                                          CHAPTER      7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                Scheme Selected: Federal
                                                           Gross                  Total        Total         Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances        Equity               Exempt    Non-Exempt


29.     Family support                                     $0.00                  $0.00       $0.00                $0.00          $0.00

30.     Other amounts someone owes you                     $0.00                  $0.00       $0.00                $0.00          $0.00

31.     Interests in insurance policies                    $0.00                  $0.00       $0.00                $0.00          $0.00

32.     Any int. in prop. due you from                     $0.00                  $0.00       $0.00                $0.00          $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                  $0.00       $0.00                $0.00          $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                  $0.00       $0.00                $0.00          $0.00
        of every nature

35.     Any financial assets you did                       $0.00                  $0.00       $0.00                $0.00          $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                  $0.00       $0.00                $0.00          $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                  $0.00       $0.00                $0.00          $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                 $0.00                  $0.00       $0.00                $0.00          $0.00
        tools of trade

41.     Inventory                                          $0.00                  $0.00       $0.00                $0.00          $0.00

42.     Interests in partnerships or                       $0.00                  $0.00       $0.00                $0.00          $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                  $0.00       $0.00                $0.00          $0.00
        other compilations

44.     Any business-related property not                  $0.00                  $0.00       $0.00                $0.00          $0.00
        already listed

47.     Farm animals                                       $0.00                  $0.00       $0.00                $0.00          $0.00

48.     Crops--either growing or harvested                 $0.00                  $0.00       $0.00                $0.00          $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                  $0.00       $0.00                $0.00          $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                  $0.00       $0.00                $0.00          $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                  $0.00       $0.00                $0.00          $0.00
        not listed

53.     Any other property of any kind not                 $0.00                  $0.00       $0.00                $0.00          $0.00
        already listed

                    TOTALS:                            $3,418.00                  $0.00    $3,418.00           $3,418.00          $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                   FORT WORTH DIVISION
  IN RE: Jennifer D. Brackeen                                                                 CASE NO

                                                                                              CHAPTER        7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                    Market Value                     Lien               Equity

Real Property

1616 Oxford Place                                                                          $185,030.00             $101,897.00            $83,133.00

3745 Nabholtz Lane                                                                           $89,540.00             $28,446.00            $61,094.00

Personal Property
(None)


                    TOTALS:                                                                 $274,570.00            $130,343.00          $144,227.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien             Equity      Non-Exempt Amount

Real Property
(None)
Personal Property
(None)


                    TOTALS:                                                     $0.00            $0.00             $0.00                      $0.00




                                                                Summary
            A. Gross Property Value (not including surrendered property)                                               $3,418.00

            B. Gross Property Value of Surrendered Property                                                          $274,570.00

            C. Total Gross Property Value (A+B)                                                                      $277,988.00

            D. Gross Amount of Encumbrances (not including surrendered property)                                            $0.00

            E. Gross Amount of Encumbrances on Surrendered Property                                                  $130,343.00

            F. Total Gross Encumbrances (D+E)                                                                        $130,343.00

            G. Total Equity (not including surrendered property) / (A-D)                                               $3,418.00

            H. Total Equity in surrendered items (B-E)                                                               $144,227.00

            I. Total Equity (C-F)                                                                                    $147,645.00

            J. Total Exemptions Claimed                  (Wild Card Used: $240.00, Available: $12,860.00)              $3,418.00

            K. Total Non-Exempt Property Remaining (G-J)                                                                   $0.00
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  Fill in this information to identify your case:
  Debtor 1             Jennifer              D.                     Brackeen
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one              Column A               Column B                Column C
        creditor has a particular claim, list the other creditors in Part 2. As           Amount of claim        Value of collateral     Unsecured
        much as possible, list the claims in alphabetical order according to the          Do not deduct the      that supports this      portion
        creditor's name.                                                                  value of collateral    claim                   If any

  2.1                                             Describe the property that
                                                  secures the claim:                            $28,446.00              $89,540.00
Chase Mtg
Creditor's name
                                                  Rental Property
Po Box 24696
Number       Street


                                                  As of the date you file, the claim is: Check all that apply.
                                                      Contingent
Columbus                 OH      43224                Unliquidated
City                     State   ZIP Code
                                                      Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Conventional Real Estate Mortgage
   to a community debt
Date debt was incurred           04/1999          Last 4 digits of account number        0     2    6    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                               $28,446.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
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Debtor 1      Jennifer D. Brackeen                                                        Case number (if known)

                  Additional Page                                                     Column A               Column B                Column C
  Part 1:                                                                             Amount of claim        Value of collateral     Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this      portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                   If any

  2.2                                         Describe the property that
                                              secures the claim:                           $101,897.00             $185,030.00
Mr. Cooper                                    Homestead
Creditor's name
Attn: Bankruptcy
Number     Street
8950 Cypress Waters Blvd
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Coppell                 TX      75019             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                FHA Real Estate Mortgage
   to a community debt
Date debt was incurred          01/2010       Last 4 digits of account number        5     5    7    5




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $101,897.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $130,343.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2
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  Fill in this information to identify your case:
  Debtor 1             Jennifer              D.                     Brackeen
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                    Last 4 digits of account number
                                                            When was the debt incurred?
Number        Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
City                             State   ZIP Code
Who incurred the debt? Check one.                           Type of PRIORITY unsecured claim:
     Debtor 1 only                                             Domestic support obligations
     Debtor 2 only                                             Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
     At least one of the debtors and another                   intoxicated
     Check if this claim is for a community debt               Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
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Debtor 1        Jennifer D. Brackeen                                                            Case number (if known)

  Part 2:         List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $6,618.00
Amex                                                        Last 4 digits of account number         7 9        9     3
Nonpriority Creditor's Name
                                                            When was the debt incurred?           01/2007
Correspondence
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 981540                                                   Contingent
                                                                Unliquidated
                                                                Disputed
El Paso                         TX      79998
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $7,796.00
Bank Of America                                             Last 4 digits of account number         5     3    8     5
Nonpriority Creditor's Name
                                                            When was the debt incurred?           06/2002
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 982238                                                   Contingent
                                                                Unliquidated
                                                                Disputed
El Paso                         TX      79998
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Jennifer D. Brackeen                                                        Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                $6,366.00
Bank Of America                                          Last 4 digits of account number      1 5        6    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2002
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 982238                                                Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                $4,053.00
Bank Of America                                          Last 4 digits of account number       9    7    1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2003
NC4-105-03-14
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 26012                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Greensboro                    NC      27410
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                $6,118.00
Bank of America Business                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 982238
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
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Debtor 1       Jennifer D. Brackeen                                                        Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                                   $61.00
Cbusasears                                               Last 4 digits of account number      3 3        8    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2002
Citicorp Credit Srvs/Centralized Bankrup
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790040                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                $6,334.00
Chase Card Services                                      Last 4 digits of account number       3    0    3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2002
Correspondence Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                $3,302.00
Chase Card Services                                      Last 4 digits of account number      6 9        9    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2007
Correspondence Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
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Debtor 1       Jennifer D. Brackeen                                                        Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.9                                                                                                                               $13,593.00
Discover Financial                                       Last 4 digits of account number      9 0        3    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2000
PO Box 3025
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
New Albany                    OH      43054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $8,585.00
First National Bank of Omaha                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2557
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                $7,969.00
Infibank                                                 Last 4 digits of account number      3 8        0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2000
Bankcard Processing/Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 3696                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5
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Debtor 1       Jennifer D. Brackeen                                                        Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.12                                                                                                                                $4,204.00
Jn Portfolio Debt Equities, LLC                          Last 4 digits of account number      1 4        4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
5757 Phantom Dr. STE 225                                     Contingent
                                                             Unliquidated
                                                             Disputed
Hazelwood                     MO      63042
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           First National Bank
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                  $855.00
Kohls/Capital One                                        Last 4 digits of account number       3    9    9    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2001
Kohls Credit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 3120                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Milwaukee                     WI      53201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                               $14,818.00
Midland Funding                                          Last 4 digits of account number      7 3        9    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2017
2365 Northside Dr Ste 300
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Diego                     CA      92108
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Citibank
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
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Debtor 1       Jennifer D. Brackeen                                                        Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.15                                                                                                                                $2,812.00
Portfolio Recovery                                       Last 4 digits of account number      4 6        8    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2017
PO Box 41067
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Norfolk                       VA      23541
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Synchrony Bank
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                   $50.00
Sears                                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6282
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117-6282
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                $1,606.00
Syncb/carecr                                             Last 4 digits of account number      7 6        4    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2006
Attn: Synchrony - Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 960061                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7
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Debtor 1       Jennifer D. Brackeen                                                        Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

  4.18                                                                                                                                $1,678.00
Wells Fargo Bank                                         Last 4 digits of account number      9 1        3    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2000
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6429                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29606
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8
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Debtor 1       Jennifer D. Brackeen                                                        Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


At&T Universal Citi Card                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 6500                                                 Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       2    9    1    5
Sioux Falls                     SD      57117
City                            State   ZIP Code


Attorney General of Texas                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Bankruptcy Section                                          Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
400 S Zang Blvd Ste 500                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Dallas                          TX      75208-6640
City                            State   ZIP Code


Bank Of America                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy                                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         FHA Real Estate
PO Box 982238                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Mortgage
                                                            Last 4 digits of account number       4    7    7    6
El Paso                         TX      79998
City                            State   ZIP Code


Comenity Bank/Dress Barn                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy Dept                                       Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Charge Account
PO Box 182125                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       4    0    3    5
Columbus                        OH      43218
City                            State   ZIP Code


FHA Single Family Loan Mtg -                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
US Dept of Housing & Urban HUD                              Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
801 Cherry St Unit 45                                                                           Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Fort Worth                      TX      76102-6882
City                            State   ZIP Code


First National Bank                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ATTn: Tina                                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Credit Card
1620 Dodge St Mailstop 4440                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       0    1    4    6
Omaha                           NE      68197
City                            State   ZIP Code



Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 9
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Debtor 1     Jennifer D. Brackeen                                                   Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

IRS                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Centralized Insolvency Operations                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO Box 7346                                                                              Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Philadelphia              PA        19101-7346
City                      State     ZIP Code


IRS- Special Procedures Staff                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Bankruptcy: Mail Code 502DAL                         Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
1100 Commerce Street RM 9a20                                                             Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Dallas                    TX        75242
City                      State     ZIP Code


Michael B Volk                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 115220                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Carrollton                TX        75011
City                      State     ZIP Code


Raush, Strum, Isreal, Enerson & Hornik,              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
15660 North Parkway Suite 350                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Dallas                    TX        75248
City                      State     ZIP Code


Synchrony Bank/ JC Penney                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy Dept                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Credit Card
PO Box 965060                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       4    6    8    3
Orlando                   FL        32896
City                      State     ZIP Code


Synchrony Bank/Linen N' Things                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy Dept                                Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street                                   Charge Account
PO Box 965060                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number       1    1    8    4
Orlando                   FL        32896
City                      State     ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 10
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Debtor 1     Jennifer D. Brackeen                                                   Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

US Dept. of Hud - Title 1                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
52 Corporate Circle                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                                     Last 4 digits of account number
Albany                      NY      12203-5121
City                        State   ZIP Code


Veterans Adm. Dept of Veteran's Affairs              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Regional Office Finance Sec. (24)                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
One Veterans Plaza                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

701 Clay Avenue
                                                     Last 4 digits of account number
Waco                        TX      76799-0001
City                        State   ZIP Code




Official Form 106E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                          page 11
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Debtor 1       Jennifer D. Brackeen                                                     Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $96,818.00


                   6j.   Total.   Add lines 6f through 6i.                                            6j.             $96,818.00




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                       page 12
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 Fill in this information to identify your case:
 Debtor 1            Jennifer             D.                     Brackeen
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1             Jennifer               D.                          Brackeen
                      First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                        Check if this is an
 (if known)
                                                                                                                        amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
               In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

               Travis E Brackeen
               Name of your spouse, former spouse, or legal equivalent
               1616 Oxford Place
               Number        Street


               Mesquite                                        TX              75149
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
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 Fill in this information to identify your case:
     Debtor 1              Jennifer             D.                     Brackeen
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Data Entry
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Electronic Transaction Consultants

      Occupation may include            Employer's address     1705 N Plano Road
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Richardson                   TX      75081
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        2 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $997.31
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $997.31




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Jennifer D. Brackeen                                                                                               Case number (if known)
                                                                                                                      For Debtor 1             For Debtor 2 or
                                                                                                                                               non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                  $997.31
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                        5a.              $144.75
     5b. Mandatory contributions for retirement plans                                                         5b.                $0.00
     5c. Voluntary contributions for retirement plans                                                         5c.                $0.00
     5d. Required repayments of retirement fund loans                                                         5d.                $0.00
     5e. Insurance                                                                                            5e.                $0.00
     5f. Domestic support obligations                                                                         5f.                $0.00
     5g. Union dues                                                                                           5g.                $0.00
     5h. Other deductions.
          Specify:                                                                                            5h. +                $0.00
6.   Add the payroll deductions.                  Add lines 5a + 5b + 5c + 5d + 5e + 5f +                     6.               $144.75
     5g + 5h.
7.   Calculate total monthly take-home pay.                          Subtract line 6 from line 4.             7.               $852.56
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                 8a.                  $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                               8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                          8c.                  $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                            8d.                  $0.00
     8e. Social Security                                                                                      8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                             8f.                  $0.00
     8g. Pension or retirement income                                                                         8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                             8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                   9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.      $852.56 +                       =                                                   $852.56
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                               11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                               12.             $852.56
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                     Combined
                                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                Schedule I: Your Income                                                                       page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Jennifer               D.                     Brackeen                            An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Jennifer D. Brackeen                                                     Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.

     6b. Water, sewer, garbage collection                                                           6b.

     6c. Telephone, cell phone, Internet, satellite, and                                            6c.
         cable services
     6d. Other. Specify:      Cell                                                                  6d.                    $50.00
7.   Food and housekeeping supplies                                                                 7.                    $300.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                     $50.00
10. Personal care products and services                                                             10.                    $65.00
11. Medical and dental expenses                                                                     11.                    $25.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                   $220.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                    $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.                   $48.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.

     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                             20a.

     20b.   Real estate taxes                                                                       20b.

     20c.   Property, homeowner's, or renter's insurance                                            20c.

     20d.   Maintenance, repair, and upkeep expenses                                                20d.

     20e.   Homeowner's association or condominium dues                                             20e.



 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1      Jennifer D. Brackeen                                                             Case number (if known)

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.             $808.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.             $808.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.             $852.56
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –         $808.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.              $44.56

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                            page 3
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 Fill in this information to identify your case:
 Debtor 1                Jennifer                      D.                             Brackeen
                         First Name                    Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $274,570.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                           $3,418.00
     1b. Copy line 62, Total personal property, from Schedule A/B.................................................................................................................................................................


                                                                                                                                                                            $277,988.00
     1c. Copy line 63, Total of all property on Schedule A/B........................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $130,343.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $96,818.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                         $227,161.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                            $852.56
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                      $808.00




Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Jennifer D. Brackeen                                                         Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $1,143.15


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00

     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00

     9g. Total.    Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Jennifer             D.                  Brackeen
                    First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name         Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Jennifer D. Brackeen                              X
        Jennifer D. Brackeen, Debtor 1                          Signature of Debtor 2

        Date 04/27/2018                                         Date
             MM / DD / YYYY                                            MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1
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 Fill in this information to identify your case:
 Debtor 1            Jennifer                D.                   Brackeen
                     First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        1616 Oxford Place                                  From                                                                  From
        Number      Street                                                      Number      Street
                                                           To                                                                    To


        Mesquite                  TX       75149
        City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1       Jennifer D. Brackeen                                                      Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,             $2,991.94       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $23,600.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,            $89,933.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2016 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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Debtor 1         Jennifer D. Brackeen                                                          Case number (if known)


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                           Court or agency                               Status of the case
JH Portfolio Debt Equities LLC Credit Card Debt                                         Dallas County
                                                                                                                                                Pending
Assignee of First National Bank                                                         Court Name
of Omaha vs Jennifer                                                                    140 N Garland Ave                                       On appeal
Brackeen                                                                                Number     Street
                                                                                                                                                Concluded
Case number JX18-00090D
                                                                                        Garland                   TX       75040
                                                                                        City                      State    ZIP Code




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
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Debtor 1         Jennifer D. Brackeen                                                        Case number (if known)

Case title                                   Nature of the case                       Court or agency                             Status of the case
Midland Funding LLC vs                       Credit Card Debt                         192nd District Court
                                                                                                                                            Pending
Jennifer Brackeen                                                                     Court Name
                                                                                      600 Commerce Street Ste 101                           On appeal
                                                                                      Number     Street
Case number DC-18-01190                                                                                                                     Concluded

                                                                                      Dallas                   TX      75202
                                                                                      City                     State   ZIP Code


Case title                                   Nature of the case                       Court or agency                             Status of the case
Travis Edwin Brackeen and                    Final Decress of Divorce                 255th Judicial District
                                                                                                                                            Pending
Jennifer D. Brackeen                                                                  Court Name
                                                                                      600 Commerce St #437                                  On appeal
                                                                                      Number     Street
Case number DF 16-13176                                                                                                                     Concluded

                                                                                      Dallas                   TX      75202
                                                                                      City                     State   ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 4
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Debtor 1       Jennifer D. Brackeen                                                         Case number (if known)

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Richard M. Weaver & Associates                                                                                  or transfer was      payment
Person Who Was Paid                                                                                             made

5601 Airport Freeway                                                                                               04/12/2018           $2,200.00
Number      Street

                                                                                                                   04/12/2018            $335.00

Fort Worth                    TX       76117
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5
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Debtor 1        Jennifer D. Brackeen                                                       Case number (if known)

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or          Date account         Last balance
                                                      number                       instrument                  was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
Branch Bank & Trust
Name of Financial Institution
                                                      XXXX-                            Checking                       2018                $0.79
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other

City                            State   ZIP Code

                                                      Last 4 digits of account     Type of account or          Date account         Last balance
                                                      number                       instrument                  was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
Edward Jones
Name of Financial Institution
                                                      XXXX-                            Checking                       2018              $256.00
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other Retirement

City                            State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

  Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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Debtor 1       Jennifer D. Brackeen                                                            Case number (if known)

 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 7
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Debtor 1     Jennifer D. Brackeen                                                   Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Jennifer D. Brackeen                            X
   Jennifer D. Brackeen, Debtor 1                         Signature of Debtor 2

   Date     04/27/2018                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
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 Fill in this information to identify your case:
 Debtor 1              Jennifer           D.                      Brackeen
                       First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Chase Mtg                                             Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Rental Property                                       Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Mr. Cooper                                            Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Homestead                                             Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1     Jennifer D. Brackeen                                                    Case number (if known)

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                          Will this lease be assumed?

    None.


 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Jennifer D. Brackeen                            X
   Jennifer D. Brackeen, Debtor 1                         Signature of Debtor 2

   Date 04/27/2018                                        Date
        MM / DD / YYYY                                           MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liqudation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
    fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 2
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         Read These Important Warnings

         Because bankruptcy can have serious long-term financial and legal consequences, including loss of
         your property, you should hire an attorney and carefully consider all of your options before you file.
         Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
         and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
         properly and protect you, your family, your home, and your possessions.

         Although the law allows you to represent yourself in bankruptcy court, you should understand that
         many people find it difficult to represent themselves successfully. The rules are technical, and a
         mistake or inaction may harm you. If you file without an attorney, you are still responsible for
         knowing and following all of the legal requirements.

         You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
         necessary documents.

         Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
         bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
         fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
         to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                 Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                    repay your creditors all or part of the money that you owe
            or fishermen                                         them, usually using your future earnings. If the court
                                                                 approves your plan, the court will allow you to repay your
                                                                 debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                        depending on your income and other factors.
+        $75   administrative fee
                                                                 After you make all the payments under your plan, many
        $275   total fee
                                                                 of your debts are discharged. The debts that are not
                                                                 discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                 include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
           $235   filing fee
    +       $75   administrative fee
                                                                     most criminal fines and restitution obligations,
           $310   total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
  .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
    of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             NORTHERN DISTRICT OF TEXAS
                                                                FORT WORTH DIVISION
In re Jennifer D. Brackeen                                                                                                          Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $2,200.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $2,200.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   04/27/2018                         /s/ Richard Weaver
                      Date                            Richard Weaver                             Bar No. 21010820
                                                      Richard M. Weaver & Associates
                                                      5601 Airport Freeway
                                                      Fort Worth, TX 76117
                                                      Phone: (817) 222-1108 / Fax: (817) 222-1168




    /s/ Jennifer D. Brackeen
   Jennifer D. Brackeen
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION
  IN RE:   Jennifer D. Brackeen                                                     CASE NO

                                                                                   CHAPTER       7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 4/27/2018                                           Signature    /s/ Jennifer D. Brackeen
                                                                     Jennifer D. Brackeen



Date                                                     Signature
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                        Amex
                        Correspondence
                        PO Box 981540
                        El Paso, TX 79998


                        At&T Universal Citi Card
                        PO Box 6500
                        Sioux Falls, SD 57117



                        Attorney General of Texas
                        Bankruptcy Section
                        400 S Zang Blvd Ste 500
                        Dallas, TX 75208-6640


                        Bank Of America
                        Attn: Bankruptcy
                        PO Box 982238
                        El Paso, TX 79998


                        Bank Of America
                        NC4-105-03-14
                        PO Box 26012
                        Greensboro, NC 27410


                        Bank of America Business
                        PO Box 982238
                        El Paso, TX 79998



                        Cbusasears
                        Citicorp Credit Srvs/Centralized Bankrup
                        PO Box 790040
                        Saint Louis, MO 63179


                        Chase Card Services
                        Correspondence Dept
                        PO Box 15298
                        Wilmington, DE 19850


                        Chase Mtg
                        Po Box 24696
                        Columbus, OH 43224
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                        Comenity Bank/Dress Barn
                        Attn: Bankruptcy Dept
                        PO Box 182125
                        Columbus, OH 43218


                        Discover Financial
                        PO Box 3025
                        New Albany, OH 43054



                        FHA Single Family Loan Mtg -
                        US Dept of Housing & Urban HUD
                        801 Cherry St Unit 45
                        Fort Worth, TX 76102-6882


                        First National Bank
                        ATTn: Tina
                        1620 Dodge St Mailstop 4440
                        Omaha, NE 68197


                        First National Bank of Omaha
                        PO Box 2557
                        Omaha, NE 68103



                        Infibank
                        Bankcard Processing/Attn: Bankruptcy
                        PO Box 3696
                        Omaha, NE 68103


                        IRS
                        Centralized Insolvency Operations
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        IRS- Special Procedures Staff
                        Bankruptcy: Mail Code 502DAL
                        1100 Commerce Street RM 9a20
                        Dallas, TX 75242


                        Jn Portfolio Debt Equities, LLC
                        Attn: Bankruptcy
                        5757 Phantom Dr. STE 225
                        Hazelwood, MO 63042
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                        Kohls/Capital One
                        Kohls Credit
                        PO Box 3120
                        Milwaukee, WI 53201


                        Michael B Volk
                        PO Box 115220
                        Carrollton, TX 75011



                        Midland Funding
                        2365 Northside Dr Ste 300
                        San Diego, CA 92108



                        Mr. Cooper
                        Attn: Bankruptcy
                        8950 Cypress Waters Blvd
                        Coppell, TX 75019


                        Portfolio Recovery
                        PO Box 41067
                        Norfolk, VA 23541



                        Raush, Strum, Isreal, Enerson & Hornik,
                        15660 North Parkway Suite 350
                        Dallas, Texas 75248



                        Sears
                        PO Box 6282
                        Sioux Falls, SD   57117-6282



                        Syncb/carecr
                        Attn: Synchrony - Bankruptcy
                        PO Box 960061
                        Orlando, FL 32896


                        Synchrony Bank/ JC Penney
                        Attn: Bankruptcy Dept
                        PO Box 965060
                        Orlando, FL 32896
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                        Synchrony Bank/Linen N' Things
                        Attn: Bankruptcy Dept
                        PO Box 965060
                        Orlando, FL 32896


                        US Dept. of Hud - Title 1
                        52 Corporate Circle
                        Albany, NY 12203-5121



                        Veterans Adm. Dept of Veteran's Affairs
                        Regional Office Finance Sec. (24)
                        One Veterans Plaza
                        701 Clay Avenue
                        Waco, TX 76799-0001

                        Wells Fargo Bank
                        Attn: Bankruptcy Dept
                        PO Box 6429
                        Greenville, SC 29606
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Jennifer             D.                    Brackeen
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $1,143.15
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                              page 1
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Debtor 1        Jennifer D. Brackeen                                                                                                Case number (if known)

                                                                                                                                         Column A      Column B
                                                                                                                                         Debtor 1      Debtor 2 or
                                                                                                                                                       non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                   $0.00                                       here                    $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                                       here                    $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                        $0.00
8.   Unemployment compensation                                                                                                                 $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $1,143.15   +               =       $1,143.15
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                           Total current
                                                                                                                                                                           monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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Debtor 1       Jennifer D. Brackeen                                                                               Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                       $1,143.15
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.         $13,717.80

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                               Texas

    Fill in the number of people in your household.                                        1

                                                                                                                                                                       $47,238.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Jennifer D. Brackeen                                                                 X
           Jennifer D. Brackeen, Debtor 1                                                                Signature of Debtor 2

           Date 4/27/2018                                                                                Date
                MM / DD / YYYY                                                                                    MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
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                                         UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                               FORT WORTH DIVISION
                                                                    §
IN RE:
                                                                    §
Jennifer D. Brackeen                                                §             Case No.
                                                                    §
                          Debtor(s)                                 §             Chapter      7


                       DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                          PETITION, LISTS, STATEMENTS, AND SCHEDULES
PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or limited
liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in accordance with
the chapter of title 11, United States Code, specified in the petition to be filed electronically in this case. I have read the
information provided in the petition, lists, statements, and schedules to be filed electronically in this case and I HEREBY
DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the Bankruptcy Court within
five (5) business days after the petition, lists, statements, and schedules have been filed electronically. I understand that a
failure to file the signed original of this Declaration will result in the dismissal of my case.

      [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
      I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am aware that
      I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief available under each
      chapter, and choose to proceed under chapter 7.


      [Only include if petitioner is a corporation, partnership or limited liability company] --
      I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements, and
      schedules on behalf of the debtor in this case.


Date: 4/27/2018                   /s/ Jennifer D. Brackeen
                                  Jennifer D. Brackeen
                                  Debtor
                                  Soc. Sec. No. xxx-xx-0952

PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I herein
which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual with primarily
consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained
the relief available under each such chapter.

Date: 4/27/2018                                                     /s/ Richard Weaver
                                                                    Richard Weaver, Attorney for Debtor
